     Case 1:18-cr-00253-DAD-BAM Document 92 Filed 05/01/19 Page 1 of 2


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     Federal Defender
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     Assistant Federal Defender
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     Fresno, California 93721-2226
4    Telephone: (559) 487-5561

5    Attorneys for Defendant
     David Agustus McGowan
6
7
8                             IN THE UNITED STATES DISTRICT COURT

9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11    UNITED STATES OF AMERICA,                       No. 1:18-cr-00253 DAD-BAM

12                           Plaintiff,
                                                      WAIVER OF DEFENDANT’S PERSONAL
13    vs.                                             PRESENCE; ORDER

14    DAVID AGUSTUS McGOWAN

15                           Defendant.

16
17          Pursuant to Fed. R. Crim. P. 43(b)(3), Defendant, David Agustus McGowan, having been

18   advised of his right to be present at all stages of the proceedings, hereby requests that this Court

19   proceed in his absence on every occasion that the Court may permit, pursuant to this waiver.

20   Defendant agrees that his interests shall be represented at all times by the presence of his

21   attorney, the Office of the Federal Defender for the Eastern District of California, the same as if

22   Defendant were personally present, and requests that this court allow his attorney-in-fact to

23   represent his interests at all times. Defendant further agrees that notice to Defendant's attorney

24   that Defendant's presence is required will be deemed notice to the Defendant of the requirement

25   of his appearance at said time and place.

26          Mr. McGowan currently lives in Independence, Missouri. He is currently employed at an

27   auto parts company and it is a financial hardship for Mr. McGowan to have to miss a day of

28   work in order to travel to Fresno for court, in addition to the expense involved with the travel.
     Case 1:18-cr-00253-DAD-BAM Document 92 Filed 05/01/19 Page 2 of 2


1    Defense requests that Mr. McGowan’s presence be waived to the extent practicable due to the

2    financial and hardship that multiple trips to Fresno will present. Defense counsel has no

3    difficulties in communication with Mr. McGowan.

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5
6    DATED: April 22, 2019                        /s/ David Agustus McGowan
                                                  DAVID AGUSTUS MCGOWAN
7                                                 Defendant
                                                  (Original Signature in File)
8
9
10
11   DATED: April 22, 2019                        /s/ Charles J. Lee
                                                  CHARLES J. LEE
12                                                Assistant Federal Defender
                                                  Attorney for DAVID AGUSTUS MCGOWAN
13
14                                              ORDER

15          GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Defendant’s

16   appearance may be waived at any and all non-substantive pretrial proceedings until further order.

17
     IT IS SO ORDERED.
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19
        Dated:     April 30, 2019                            /s/ Barbara A. McAuliffe             _
                                                       UNITED STATES MAGISTRATE JUDGE
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     McGowan: Rule 43 Waiver
